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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :      Case No:
                                               :
               v.                              :
                                               :      VIOLATIONS:
                                               :
TYLER SLAEKER,                                 :      18 U.S.C. § 1752(a)(1) and 2
                                               :      (Restricted building or grounds)
                                               :
               Defendant.                      :      40 U.S.C. § 5104(e)(2)(D) and (G)
                                               :      (Violent entry or disorderly conduct)
                                               :
                                               :

                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR AN ARREST WARRANT

       I, Anne Borgertpoepping, being first duly sworn, hereby depose and state as follows:

                           INTRODUCTION AND BACKGROUND

       1.      I make this affidavit in support of an application for an arrest warrant for TYLER

SLAEKER.

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), assigned to

the Seattle Field Office. I am assigned to the Joint Terrorism Task Force that investigates domestic

and international terrorism acts. Currently, I am tasked with investigating criminal activity in and

around the United States Capitol grounds that occurred on January 6, 2021. As a Special Agent, I

am authorized by law or by a Government agency to engage in or supervise the prevention,

detention, investigation, or prosecution of violations of Federal criminal laws.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.
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       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by



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breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       8.       Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                      PROBABLE CAUSE

       10.      TYLER SLAEKER (hereinafter SLAEKER) is 39-year-old American citizen.

Based on Washington State Department of Licensing records, SLAEKER resides in Federal Way,

Washington. As discussed in detail below, SLAEKER appears to have traveled to Washington,

D.C., from Washington state on or about January 4, 2021, and participated in the rioting at the

Capitol.

       11.      Witness 1 provided an online tip to the FBI regarding the riot at the U.S. Capitol.

On March 30, 2021, law enforcement interviewed Witness 1. Witness 1 advised that he/she is

related to SLAEKER through marriage and saw a photograph on a family member’s Facebook

page of SLAEKER in the Capitol building during the riot on January 6, 2021.

       12.      Law enforcement also received a tip about SLAEKER from Witness 2. On April

8, 2021, law enforcement interviewed Witness 2. Witness 2 advised that he/she is related through

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marriage to SLAEKER and he/she recognized SLAEKER in a photograph posted on SLAEKER’s

mother’s Facebook page (shown below in Image 1). Witnesses 1 and 2 have identified the

individual in the top photograph in Image 1 in the foreground wearing an American flag

scarf/gaiter and a grey jacket as SLAEKER.

                                             Image 1




       13.     Witness 2 also provided the FBI with screenshots of additional posts from

SLAEKER’s mother’s Facebook page. See Images 2 and 3. In Image 2, SLAEKER’s mother,

using the Facebook account that Witness 2 has identified as belonging to SLAEKER’s mother,

posted two photographs, which appear to depict the Capitol on January 6, 2021, with the caption

“They entered the Capitol building-there is pepper spray going on-police are shutting down the

building now.” 1




       1
              The Facebook account associated with SLAEKER’s mother includes her first and
last name; however, that information is not included here due to the public nature of this filing.
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                       Image 2                                              Image 3




       14.     Image 3 shows that when asked if there was any violence, SLAEKER’s mother,

using the Facebook account in her first and last name, responded in part “Not until some people

entered one of the interior passages and police were waiting, then it was a pushing match; Tyler

says he didn’t see any shooting incident, but heard there was one, but most of the crowd was calling

out to others to be peaceful,” and that “[t]he pictures tyler sent of the crowds show normal, middle

class, even older crowds.”

       15.     Law enforcement conducted a manual review of United States Capitol Police

(USCP) closed-circuit television (CCTV). USCP CCTV shows an individual wearing a black

helmet, grey jacket, backpack with black straps, and tan pants entering the U.S. Capitol building,

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as shown in Image 4. Witness 1 and Witness 2 have identified the individual in the red circle in

Image 4 as SLAEKER. Images 4 and 5 are screenshots from the CCTV footage of the Upper West

Terrace door captured on January 6, 2021, at approximately 2:45 p.m., with red circles around

SLAEKER. In Images 4 and 5, SLAEKER has what appears to be an illuminated smartphone in

his hand.

                               Image 4                               Image 5




       16.     USCP CCTV shows that after entering the Capitol, SLAEKER entered the

Rotunda. Images 6a and 6b are screenshots from the CCTV footage of the Rotunda captured on

January 6, 2021, at approximately 2:46 p.m., with 6b being a zoomed in version of 6a. SLAEKER,

in the red circle, is standing on a bench between the painting “Baptism of Pocahontas” and the

painting “Embarkation of the Pilgrims.”2 SLAEKER can be seen raising his arm with what

appears to be his cellular telephone in his hand.




       2
              In a prior search warrant affidavit for T-Mobile records in this matter, this painting
was incorrectly identified as “Independence Day.” This was an error. The painting is in fact
“Embarkation of the Pilgrims.”
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                           Image 6a




                           Image 6b




                               7
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                                            Image 7




       17.     Image 7, which was posted on SLAEKER’s mother’s Facebook page, see Images

1 and 2, is consistent with a photograph taken from SLAEKER’s position in the Rotunda in Images

6a and 6b. First, it depicts the paintings “Surrender of Lord Cornwallis” and “General George

Washington Resigning his Commission,” which are across the Rotunda from the paintings

“Baptism of Pocahontas” and “Embarkation of the Pilgrims.” Furthermore, an individual with a

yellow flag is standing in front and to the right of SLAEKER in Images 6a and 6b and an individual

with a yellow flag is in the lower righthand corner of Image 7, which would be in front and to the

right of the individual who took Image 7.




                                                8
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                                             Image 6a




                                              Image 7




       18.     Additionally, a blue Trump flag and a yellow flag are in front and to the left of

SLAEKER, and an American Flag and a red Trump flag are in front of SLAEKER in Image 6a

and a blue Trump flag and yellow flag are to the left and an American flag and a red Trump flag

are straight ahead in Image 7, which would be in front and to the left and in front of the individual

who took Image 7, respectively.


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                                            Image 6a




                                             Image 7




       19.     Image 8 is a screenshot from the CCTV footage of the Rotunda captured on January

6, 2021, at approximately 2:53 p.m. SLAEKER, in the red circle, is holding what appears to be

an illuminated cellular telephone in front of him with his back to the center of the Rotunda. Image

                                                10
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9, which was posted on the Benita Brinton Facebook page, see Image 1, is consistent with a “selfie”

taken from SLAEKER’s position in the Rotunda in Image 8.

                                             Image 8




                                             Image 9




                                                11
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       20.    For instance, an American flag with black lettering on it is behind SLAEKER in

both Images 8 and 9. “Surrender of Lord Cornwallis” and “General George Washington Resigning

his Commission” can also be seen behind SLAEKER.

                                          Image 8




                                          Image 9




       21.    Image 10 is a screenshot from the CCTV footage of the interior Rotunda door

captured on January 6, 2021, at approximately 2:59 p.m. The individual in Image 10 is wearing

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a black helmet, grey jacket, backpack with black straps, and tan pants consistent with the clothing

that SLAEKER can be seen wearing in Image 4. He is also wearing an American flag scarf/gaiter

consistent with the scarf/gaiter that SLAEKER can be seen wearing in Images 1 and 9.

                                            Image 10




                                CONCLUSIONS OF AFFIANT

       22.     Based on the foregoing, your affiant submits that there is probable cause to believe

that TYLER SLAEKER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to

(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do

so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

business or official functions, engage in disorderly or disruptive conduct in, or within such

proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or

disrupts the orderly conduct of Government business or official functions; or attempts or conspires

to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,

cordoned off, or otherwise restricted area of a building or grounds where the President or other

person protected by the Secret Service, including the Vice President, is or will be temporarily


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visiting; or any building or grounds so restricted in conjunction with an event designated as a

special event of national significance.

       23.     Your affiant also submits there is also probable cause to believe that TYLER

SLAEKER violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and

knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive

conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,

disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the

orderly conduct in that building of a hearing before, or any deliberations of, a committee of

Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol

Buildings.




                                                  ___________________________________
                                                  Anne Borgertpoepping
                                                  Special Agent
                                                  Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of July 2021.
                                                                        2021.07.27
                                                                        18:32:02 -04'00'
                                                  ___________________________________
                                                  ROBIN M. MERIWEATHER
                                                  UNITED STATES MAGISTRATE JUDGE




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